Case:23-00462-ESL11 Doc#:64 Filed:05/16/23 Entered:05/16/23 23:00:05                                                Desc: Main
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    PUERTO RICO BANKRUPTCY
    PDF FILE WITH AUDIO FILE ATTACHMENT

          23-00462

          AZURE DEVELOPMENT INC




          Case Type :                       bk
          Case Number :                     23-00462
          Case Title :                      AZURE DEVELOPMENT INC
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